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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                                  Southern Division

     BLEACHTECH LLC, individually and
     on behalf of all others similarly             Case No. 14-12719 DPH-RSW
     situated,
                                                   Honorable Denise Page Hood
                  Plaintiff

     v.

     UNITED PARCEL SERVICE, INC., an
     Ohio Corporation,

                  Defendant.


                    ORDER GRANTING PRELIMINARY
          APPROVAL OF CONDITIONAL CLASS ACTION SETTLEMENT
                     AND DIRECTING CLASS NOTICE

           WHEREAS, Plaintiff, BleachTech LLC, and Defendant, United Parcel

 Service, Inc., an Ohio Corporation (the “Parties”) have entered into an Amended

 Class Action Settlement Agreement (“Settlement Agreement”) subject to the

 Court’s final approval;

           WHEREAS, Plaintiff has moved pursuant to Rule 23(e), without

 Defendant’s opposition, for preliminary approval of the settlement on a classwide

 basis under Federal Rules of Civil Procedure 23(b)(2) and 23(b)(3), conditioned

 upon the Court’s final approval;

           WHEREAS, it appears to the Court that the settlement described in the



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 Settlement Agreement was the result of extensive arms’-length settlement

 negotiations between the Parties with a neutral mediator;

       WHEREAS, Plaintiff asks the Court to conditionally certify the Class as

 defined below for settlement purposes, appoint it as class representative, and

 appoint class counsel; and

       WHEREAS, Plaintiff asks this Court to appoint Epiq Class Action & Claims

 Solutions, Inc. as Settlement Administrator to authorize class notice as detailed in

 the moving papers, set a Final Approval Hearing date, and authorize the Parties

 and Epiq Class Action & Claims Solutions, Inc. to take steps to implement the

 settlement subject to final approval and certification of a settlement class;

       NOW THEREFORE, the Court hereby orders as follows:

       1.     Plaintiff’s motion for preliminary approval is granted. The Court

 finds, based on the parties’ submissions, that the Court will likely be able to:

 (i) approve the proposal under Rule 23(e)(2); and (ii) certify the Class for purposes

 of judgment on the proposal.

       2.     The Court hereby directs the Parties and the Settlement Administrator

 to notify the Class of the proposed settlement pursuant to the notice plan set forth

 in the Settlement Agreement, as highlighted below.

       3.     Final Approval Hearing. The Final Approval Hearing will be held

 before this Court, in Courtroom 218, at the United States District Court of the



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 Eastern District of Michigan, 231 W. Lafayette Blvd., Detroit, Michigan at 10:00

 a.m. on June 28, 2022, or such other place, time, and date set by the Court.

       4.     Unless otherwise provided herein, the terms defined in the Settlement

 Agreement shall have the same meanings in this Order.

       5.     Class. For settlement purposes only and contingent upon Final

 Approval by this Court, the Court provisionally certifies the following class:

       Except as excluded below, all persons or entities who, from January 1,
       2011, through December 29, 2013 (the “Class Period”), tendered to
       UPS (or paying party if the package was billed to a different account
       than the shipper) one or more U.S. origin packages under contract
       with UPS with a declared value in excess of $300 charged pursuant to
       UPS’s published non-Retail rates or in excess of $200 charged
       pursuant to UPS’s published Retail rates.

 Specifically excluded from the scope of the Class are any packages with a

 declaration of value that was later voided, any packages shipped under an

 account of a The UPS Store location, and any packages shipped through any

 other Third-Party Retailer (as defined by the July 8, 2013, UPS Tariff/Terms

 and Conditions of Service—United States, attached as Exhibit A to

 Plaintiff’s Amended Complaint) to the extent the claim is asserted by a

 customer of such Third-Party Retailer, which packages will not be deemed

 Covered Packages. Also excluded is any entity in which Defendant has or

 had a controlling interest or that has a controlling interest in Defendant and

 all The UPS Store locations, and all other authorized UPS shipping agents



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 and partners, including authorized outlets, to the extent packages were not

 shipped pursuant to a contract with UPS during the Class Period to purchase

 declared value coverage at the rates set forth in the pricing tables published

 in the applicable UPS Service Guide. Also excluded are UPS’s legal

 representatives, assigns, and successors; the Court and any member of its

 staff; and any Putative Class Member who timely submitted a valid Request

 for Exclusion or was found by the Court to have adequately opted out of the

 Class.

          6.   Appointments. The Court appoints BleachTech LLC provisionally as

 Class Representative. The Court appoints Andrew J. McGuinness, Daniel R.

 Karon, and Sanford P. Dumain as interim Class Counsel pursuant to Rule 23(g)(3).

          7.   Notice. The Court approves Epiq Class Action & Claims Solutions,

 Inc. to serve as Settlement Administrator. Under Class Counsel’s direction and in

 accordance with the Court’s order, the Settlement Administrator will provide

 Notice as provided in the Settlement Agreement, respond to inquiries from

 potential Class Members, and receive Requests for Exclusion. Defendant will pay

 for fifty percent of the Settlement Administrator’s reasonable services and

 expenses in connection with administering the settlement. The remaining fifty

 percent shall be paid from the Settlement Common Fund, subject to review by

 Class Counsel.



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       8.    The Settlement Administrator shall disseminate Notice to the potential

 Class Members by the following means:

             a.    For all Class Members for whom Defendant has supplied an

                   email address, the Settlement Administrator shall send via

                   email a Short Form Notice by May 11, 2022 (the “Notice

                   Date”).

             b.    The email Short Form Notice shall direct Class Members to the

                   Settlement Website, www.UPSdeclaredvaluesettlement.com

                   where the full Long Form Notice, including opt out instructions

                   and electronic Request for Exclusion Form, is available.

             c.    For Class Members without an email address on file with

                   Defendant or whose Short Form Notice sent via email is

                   returned as undeliverable, the Settlement Administrator will

                   send via United States Mail, First Class postage prepaid, a copy

                   of the Postcard Notice by the Notice Date.

             d.    The Postcard Notice shall direct Class Members to the

                   Settlement Website where the full Long Form Notice, including

                   opt out instructions and electronic Request for Exclusion Form,

                   is available.

             e.    The Postcard Notice shall be sent to the last addresses provided



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                   to the Settlement Administrator by UPS.

             f.    For Class Members whose Postcard Notices are returned as

                   undeliverable, the Settlement Administrator shall use

                   commercially reasonable efforts to locate forwarding or

                   updated addresses and resend the Postcard Notice to such

                   updated addresses.

             g.    No later than the Notice Date, the Settlement Administrator

                   shall implement an Internet publication notice program through

                   the Google Display Network for 30 days duration targeting at

                   least 14 million impressions. The Publication Notice shall use

                   banner advertisements substantially in the form of Exhibit D to

                   the Settlement Agreement.

             h.    Defendant is responsible for notifying the appropriate federal

                   and state officials of this Settlement Agreement as required by

                   the Class Action Fairness Act of 2005, 28 U.S.C. § 1715.

             i.    No fewer than 15 days before the Final Approval Hearing, the

                   Settlement Administrator shall provide the following

                   information to counsel for the Parties:

                         i. The number of email Short Form Notices sent to
                            Putative Class Members;

                         ii. The number of Postcard Notices sent to Putative Class


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                              Members;

                           iii. The approximate number of visits to the Settlement
                                Website from the date of this Order’s entry;

                           iv. Any information about objections to the settlement
                               that the Settlement Administrator has not previously
                               forwarded;

                           v. Any other tracking information reasonably requested
                              by either Party’s counsel; and

                           vi. A report stating the number of Putative Class
                               Members who have submitted timely and valid
                               Requests for Exclusion, including a listing of the
                               names and addresses of such Opt Outs, and reporting
                               the number of claim points allocated to the Putative
                               Class Members who have submitted timely and valid
                               Requests for Exclusion divided by the total claim
                               points available to the Settlement Class, as calculated
                               by the Settlement Administrator (the “Exclusion
                               Percentage”).

              j.    Class Counsel shall file the list of Opt-Outs not less than seven

                    (7) days before the Final Approval Hearing. Class Counsel’s

                    submission shall differentiate between valid Opt-Outs and

                    invalid Opt-Outs as determined by the Settlement

                    Administrator.

       9.     The Court finds that the dissemination of Notice in the manner

 described above constitutes reasonable notice and the best notice practicable under

 the circumstances, including individual notice to all members who can be

 identified through reasonable effort, and is consistent with Federal Rule of Civil



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 Procedure 23 and the Due Process Clause of the United States Constitution.

       10.    Opting Out. Putative Class Members who wish to exclude themselves

 from the Class, the Settlement, its benefits, and the release of claims pursuant to

 the Settlement must submit a Request for Exclusion. To be effective, the Request

 for Exclusion must be valid and timely.

       11.    To be valid, a Request for Exclusion must:

              a.    identify the full name and address of the Putative Class
                    Member requesting exclusion;

              b.    be dated and personally signed (original or electronic signatures
                    accepted) by the Putative Class Member, responsible individual
                    requesting exclusion, or person documented to be acting under
                    valid power of attorney, guardianship, or other legal authority
                    to sign on behalf of the Putative Class member or his or her
                    estate;

              c.    contain a statement that reasonably indicates a desire to be
                    excluded from the settlement. The following statement meets
                    this requirement: “I want to opt out of the Settlement Class
                    certified in the Bleachtech v. UPS case”; and

              d.    provide the unique I.D. number contained in the Settlement
                    Administrator’s email or postcard sent or the Putative Class
                    Member’s UPS account number(s).

       12.    To be timely, the Requests for Exclusion must be emailed or

 postmarked no later than 30 days before the Final Approval Hearing (the “opt-out

 deadline”). If the opt-out deadline falls on a Sunday or federal holiday, the

 deadline is the next day that is not a Sunday or federal holiday.

       13.    Requests for Exclusion that do not meet these requirements will not



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 exclude a Putative Class Member from the Settlement. Mass or class opt-outs are

 not allowed.

       14.      The Short Form, Postcard, and Long Form Notices shall state the opt-

 out deadline. Request for Exclusion Forms shall be available for download from

 the Settlement Website and available by the Settlement Administrator through First

 Class Mail. A Class Member who submits a valid and timely Request for

 Exclusion is not eligible to receive any Settlement Benefit.

       15.      The Settlement Administrator shall log all Requests for Exclusion and

 shall forward the log to counsel for the Parties by 15 business days after the opt-out

 deadline.

       16.      By seven business days after the opt-out deadline, counsel for the

 Parties shall forward to the Settlement Administrator any Requests for Exclusion

 they have received.

       17.      Objections. Class Members who do not request exclusion from the

 Class may object to the Settlement. Class Members who object must file with the

 Court written notices of their intent to object and must serve copies of their

 objection on counsel for the Parties as set forth below.

       18.      Any Class Member who submits a valid objection may appear at the

 Final Approval Hearing in person, by video or audio feed if the Court orders, or by

 counsel and may be heard to the extent permitted under applicable law and allowed



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  by the Court concerning the fairness, reasonableness, and adequacy of the

  settlement and Class Counsel’s application for Service Award, attorneys’ fees, and

  reimbursement of costs and expenses.

        19.    Class Members must individually exercise their right to object to the

  settlement and, except in the case of a deceased or incapacitated Class Member or

  where a Class Member is represented by counsel, not by another Person acting or

  purporting to act in a representative capacity.

        20.    To be considered valid, an objection must:

               a.     identify the case name and number “BleachTech v. UPS, Case
                      No. 2:14-cv-12719”;

               b.     be filed with the Court no fewer than 30 days before the Final
                      Approval Hearing;

               c.     be postmarked and mailed to counsel for the Parties at the
                      addresses listed in the Long Form Notice no fewer than 30 days
                      before the Final Approval Hearing (unless the Class Member
                      filed an objection via the Court’s ECF system such that copies
                      are transmitted electronically to counsel for the Parties);

               d.     set forth the full name, current address, telephone number, and
                      unique I.D. number of the objecting Class Member assigned by
                      the Settlement Administrator;

               e.     set forth a statement of the position the Class Member wishes to
                      assert, including the factual and legal grounds for the position;

               f.     state whether the Class Member intends to appear and requests
                      to be heard in person or through counsel at the Final Approval
                      Hearing and state the names of any witnesses the Class Member
                      might call in connection with the Objection and summarize
                      these witnesses’ testimony;



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              g.     provide copies to counsel for the Parties of all documents the
                     Class Member wishes to submit in support of their position;

              h.     provide the names, addresses, and phone numbers of any
                     attorneys representing the Class Member;

              i.     identify by case name, case number, and court all class action
                     settlements objected to by the Class Member and their counsel
                     in the last three years; and

              j.     include the Class Member’s signature.

        17.   If a Class Member, their counsel, or any person with whom they are

  working in bringing the objection has objected to a class action settlement on more

  than three occasions, the Class Member shall:

              a.     list all cases in which such objections were filed, including by
                     whom;

              b.     state the outcome of the objection;

              c.     state the amount of money, if any, paid in connection with the
                     objection to the objector, their counsel, or anyone else, and state
                     by whom such payment was made and whether it was disclosed
                     to the court overseeing the proposed settlement.

        18.   Only objections fulfilling the foregoing requirements will be deemed

  adequate.

        19.   Any Class Member who does not file a timely and adequate notice of

  intent to object in accordance with the foregoing requirements waives the right to

  object or to be heard at the Final Approval Hearing and shall be forever barred

  from making any objection to the settlement.

        20.   To the extent any Class Member objects to the settlement and their


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  objection is overruled in whole or in part, the Class Member will be forever bound

  by the Judgment of the Court.

        21.     Counsel for the Parties may seek expedited leave from the Court to

  depose any objector before the scheduled Final Approval Hearing if an objector

  does not agree to an expedited deposition. Counsel for the Parties may also request

  expedited production before the deposition of any nonprivileged materials relevant

  to the objection and proportionate to the needs of this case.

        21.     Final Approval. Class Counsel shall submit a motion for final

  approval of the settlement by the Court, as well as a motion for attorneys’ fees,

  expenses, and Service Award and any supporting memoranda, declarations, or

  other statements and materials, no later forty-five (45) days before the Final

  Approval Hearing. The Parties may submit supplemental memoranda in support of

  the motions for final settlement approval and attorneys’ fees, expenses, and Service

  Awards no fewer than seven (7) days before the Final Approval Hearing.

        22.     The Notice to the Class shall contain a date, time, and location of the

  Final Approval Hearing, subject to later change by the Court. A Final Approval

  Hearing will occur seventy-five (75) days from the date the Court enters its order

  granting preliminary approval of the Settlement Agreement but not less than 100

  days after Class Counsel files the Motion for Preliminary Approval of the

  settlement.



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           23.   At the Final Approval Hearing the Court will consider:

                 a.    the fairness, reasonableness, and adequacy of the settlement and
                       whether to approve it;

                 b.    whether to grant the Injunctive Relief set forth in the Settlement
                       Agreement;

                 c.    whether to retain jurisdiction to enforce the Settlement and to
                       dismiss the action with prejudice; and

                 d.    whether to grant Class Counsel’s application for attorneys’ fees,
                       expenses, and Service Awards for the Class Representative.

           24.   In the event the Settlement Agreement is terminated in accordance

  with its provisions, the settlement shall be null and void, except insofar as

  expressly provided in the Settlement Agreement, and without prejudice to the

  status quo ante rights of the Parties.

           25.   Summary of Dates. The following chart contains a summary of Dates

  and Deadlines:

      Event                                         Date
      Defendant causes to be provided to the        10 days after the date of this Order.
      Settlement Administrator an Excel
      spreadsheet of the names and last
      known email addresses and mailing
      addresses of Putative Class Members
      (“Class Member List”)1



  1
   The Settlement Administrator shall maintain the confidentiality of the Class
  Member List, Class Member account data, or other Class Member information and
  shall use the information contained in the Class Member List and other Class
  Member information solely for purposes of implementing this Settlement or as
  directed by the Court.


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   Event                                        Date
   Deadline for Defendants to fund              15 Days after the date of this Order.
   $700,000 of the Settlement Common
   Fund.
   Deadline to disseminate Notice to the        30 days after the date of this Order.
   Class (“Notice Date”)
   Plaintiff to File Motion for Final           At least 45 days before the Final
   Approval and Fee and Cost Application        Approval Hearing.
   Last day for objections to settlement or     30 days before the Final Approval
   opposition to Motion for Final               Hearing
   Approval and/or Application for Fees,
   Costs, and Service Award
   Last day for potential Class Members to      30 days before the Final Approval
   file Requests for Exclusion                  Hearing.
   Counsel for the Parties to forward to the    Seven business days after the Opt-Out
   Settlement Administrator copies of any       deadline.
   Requests for Exclusion received by
   them
   Settlement Administrator to log each         15 business days after the Opt-Out
   Request for Exclusion received and           deadline.
   forward copies of the log and all
   Requests for Exclusion counsel for the
   Parties.
   Settlement Administrator to provide          15 Days before the Final Approval
   counsel for the Parties: (1) number of       Hearing.
   email Short Form Notices it sent to
   Putative Class Members; (2) number of
   Postcard Notices it sent to Putative
   Class Members; (3) approximate
   number of visits to the Settlement
   Website from the date of this Order’s
   entry; (4) any information about
   objections to the settlement that it has
   not previously forwarded; (5) any other
   tracking information reasonably
   requested by either Party’s counsel; (6)
   a report stating the number of Putative
   Class Members who have submitted
   timely and valid Requests for


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   Event                                       Date
   Exclusion, including a listing of the
   names and addresses of such Opt-Outs,
   and reporting the number of claim
   points allocated to the Putative Class
   Members who have submitted timely
   and valid Requests for Exclusion
   divided by the total claim points
   available to the Settlement Class, as
   calculated by the Settlement
   Administrator (the “Exclusion
   Percentage”).
   Last day for the Parties to file            Seven Days before the Final Approval
   supplemental papers in support of           Hearing.
   Motion for Final Approval and/or Fee
   Cost and Service Award Applications
   Deadline for Class Counsel to file          Seven Days before the Final Approval
   report regarding Requests for Exclusion     Hearing.
   Final Approval Hearing                      June 28, 2022 (75 days from the date
                                               of this Order but not less than 100 days
                                               following the filing of Plaintiff’s
                                               Preliminary Approval Motion).
   Defendant to cause the amount               10 Days of the Effective Date,
   approved by the Court for attorneys’        “Effective Date” defined as the later of:
   fees and expenses and the Service           (i) 37 Days after the entry of the
   Award to be paid into the Qualified         judgment or entry of the Court’s order
   Settlement Fund.                            on attorneys’ fees and costs, whichever
                                               occurs later, where the time for appeal
                                               has expired and no appeal has been
                                               filed; or
                                               (ii) if any appeal, petition for rehearing,
                                               motion to reconsider, or other review of
                                               the judgment has been filed or sought,
                                               37 Days after the judgment is affirmed
                                               without substantial or material change
                                               or the appeal is dismissed or otherwise
                                               disposed of (unless any substantial or
                                               material change is accepted by the
                                               Parties), and no other appeal, petition
                                               for rehearing, or other review is

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   Event                                      Date
                                              pending, and the time for further
                                              appeals, petitions, requests for
                                              rehearing, or other review has expired;
                                              or
                                              (iii) if any appeal, petition for
                                              rehearing, motion to reconsider, or
                                              other review of the Court’s order on
                                              attorneys’ fees and costs has been filed
                                              or sought, 37 Days after the Court’s
                                              order on attorneys’ fees and costs is
                                              resolved, or the appeal is resolved,
                                              dismissed or otherwise disposed of and
                                              no other appeal, petition for rehearing
                                              or other review is pending, and the time
                                              for further appeals, petitions, requests
                                              for rehearing or other review has
                                              expired.
   Settlement Administrator to divide the     10 Days of the Effective Date.
   Net Settlement Fund by the total
   number of claim points calculated under
   Sections 3.2.1 and 3.2.2 of the
   Settlement Agreement to determine the
   value of one claim point (“Claim Point
   Value”).
   Settlement Administrator to withdraw    20 Days of the Effective Date.
   50 percent of its Notice and
   Administration Expenses from the
   Settlement Common Fund.
   Deadline for Settlement Administrator   20 Days of the Effective Date.
   to pay Class Counsel Court-approved
   fees, expenses, and Service Award out
   of the Settlement Common Fund.
   Defendant to cause the estimated        30 days of the Effective Date.
   remainder of the Cash Payment to be
   paid into the Qualified Settlement
   Fund—$4,850,000 less amounts
   previously paid to the Qualified
   Settlement Fund and less estimated
   Total Account Credits.

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   Event                                        Date
   Deadline for Defendant to issue account      45 Days after the Effective Date.
   credits.
   Deadline for Defendant to document by        10 days after Defendant issues Class
   amount and Class Member each                 Members’ credits.
   account credit issued and certify under
   oath or declaration subject to penalty of
   perjury the total amount of such credits.
   Deadline for Settlement Administrator    60 Days after the Effective Date or
   to mail checks.                          receipt of the mailing addresses from
                                            Defendant, whichever comes later.
   Class Counsel to take steps necessary to Within 60 Days after the Effective
   destroy or erase all documents and data Date.
   provided by Defendant.
   Donation of Unused Class Funds (i.e.,    90 days after checks are mailed.
   uncashed checks) to the National
   Consumer Law Center, a § 501(c)(3)
   non-profit public interest law firm
   engaged in the education, training, and
   promotion of consumer protection law,
   as cy pres award, or such other suitable
   non-profit organization as
   recommended by Class Counsel and
   approved by the Court.
   Injunction expires                       August 20, 2024 (Three years after
                                            signing of the Settlement Agreement)

  IT IS SO ORDERED.

  DATED: April 10, 2022                  s/Denise Page Hood
                                         Hon. Denise Page Hood
                                         United States District Judge




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